                       EXHIBIT C




Case 3:16-cv-02267   Document 40-3   Filed 10/24/16                           010
                                                      Page 1 of 4 PageID #: 489
Movant's Purchases and Losses                                                                                                        Corrections Corporation of America

                                                                 Shares     Share        Total                     Shares   Share       Total            Total
 Name                                             Date          Purchased   Price        Cost          Date**       Sold    Price     Proceeds        Gain (Loss)*
 Amalgamated Bank, as Trustee for the
 LongView Collective Investment Fund           03/29/2012          100      $22.92     $2,291.90     05/10/2013    19,921   $38.68   $770,544.28
                                               04/04/2012          100      $22.83     $2,283.39     05/13/2013      600    $38.66   $23,196.00
                                               06/28/2012          100      $24.62     $2,462.18     05/20/2013    2,800    $39.31   $110,068.00
                                               07/09/2012          100      $25.53     $2,553.27     05/22/2013     0.46    $39.71      $18.27
                                               10/02/2012A        4,000     $28.47    $113,880.00    05/22/2013    0.998    $39.71      $39.63
                                               10/05/2012          100      $29.04     $2,904.04     05/29/2013    2,200    $35.59   $78,303.06
                                               10/15/2012         1,000     $28.37     $28,367.83    05/30/2013    2,000    $35.87   $71,735.60
                                               10/17/2012          200      $28.61     $5,721.24     06/03/2013    0.7535   $37.41      $28.19
                                               12/03/2012          315      $29.77     $9,378.37     06/03/2013    0.9542   $37.41      $35.70
                                               12/12/2012          100      $30.53     $3,052.61     06/17/2013    7,300    $34.39   $251,047.00
                                               12/17/2012A        8,500     $30.00    $255,021.25    06/28/2013      170    $33.87    $5,757.90
                                               12/18/2012          536      $30.03     $16,095.01    06/28/2013      626    $33.92   $21,236.55
                                               12/19/2012A        4,081     $30.16    $123,065.41    08/16/2013      62     $33.37    $2,068.94
                                               02/01/2013A        1,443     $32.48     $46,868.64    08/19/2013    5,100    $33.38   $170,212.50
                                               02/14/2013          100      $32.33     $3,232.67     08/26/2013      51     $34.03    $1,735.53
                                               02/19/2013         2,400     $32.45     $77,870.20    09/13/2013      65     $34.04    $2,212.60
                                               02/19/2013A        3,100     $32.60    $101,057.52    09/16/2013    4,800    $34.02   $163,296.00
                                               02/20/2013A         139      $31.94     $4,440.16     09/30/2013       3     $34.55     $103.65
                                               03/06/2013         9,600     $32.28    $309,846.16    10/10/2013      56     $34.81    $1,949.36
                                               03/18/2013          500      $32.48     $16,242.11    10/22/2013      59     $37.08    $2,187.72
                                               04/01/2013A        3,300     $32.70    $107,914.29    10/28/2013      400    $37.89   $15,156.00
                                               04/18/2013          100      $34.23     $3,423.00     12/03/2013      100    $33.49    $3,349.00
                                               04/18/2013         1,500     $33.90     $50,850.15    12/11/2013    1,600    $33.12   $52,992.00
                                               04/18/2013        30,500     $33.90   $1,033,953.05   12/11/2013    4,154    $33.12   $137,580.48
                                               04/25/2013          800      $35.87     $28,696.00    01/10/2014      800    $33.38   $26,704.00
                                               04/30/2013          100      $36.20     $3,620.00     03/25/2014      68     $32.09    $2,182.12
                                               05/17/2013         5,000     $39.47    $197,350.00    05/13/2014      71     $32.63    $2,316.73
                                               05/21/2013D      145.7535    $38.90     $5,669.81     05/23/2014      116    $32.38    $3,756.08
                                               05/21/2013D      270.9542    $38.90     $10,540.12    06/27/2014      736    $33.67   $24,781.12
                                               05/21/2013D      1554.998    $38.90     $60,489.42    07/09/2014      80     $33.47    $2,677.60
                                               05/21/2013D       4672.46    $38.90    $181,758.69    07/14/2014    1,500    $33.39   $50,085.00
                                               06/07/2013        11,100     $35.85    $397,935.00    09/09/2014      33     $35.62    $1,175.46
                                               06/21/2013          300      $33.04     $9,910.50     02/10/2015      23     $38.59     $887.57
                                               06/28/2013          731      $33.91     $24,786.89    02/12/2015    1,000    $39.20   $39,200.00
                                               07/22/2013        10,700     $33.18    $354,972.50    02/17/2015      600    $40.11   $24,066.00
                                               08/01/2013          109      $33.10     $3,607.90     03/26/2015      700    $40.61   $28,427.00
                                               08/05/2013         1,400     $33.16     $46,424.00    03/30/2015       9     $41.55     $373.95
                                               08/06/2013          100      $32.66     $3,266.00     04/23/2015      800    $39.63   $31,704.00
                                               09/20/2013          900      $34.52     $31,065.75    05/06/2015      45     $35.93    $1,616.85
                                               10/16/2013          800      $36.96     $29,568.00    05/21/2015      700    $35.01   $24,507.00
                                               11/14/2013           86      $35.80     $3,078.80     06/26/2015      25     $34.00     $850.00
                                               12/20/2013          300      $32.39     $9,717.00     06/26/2015    4,600    $34.00   $156,400.00
                                               01/09/2014         1,500     $32.93     $49,395.00    06/30/2015    5,000    $33.08   $165,400.00
                                               01/10/2014          100      $33.18     $3,318.00     07/01/2015      300    $33.19    $9,957.00
                                               03/03/2014          600      $33.48     $20,088.00    08/03/2015B   5,300    $35.39   $187,567.00
                                               03/04/2014          100      $33.72     $3,372.00     11/30/2015B   1,078    $25.78   $27,790.84

                                  Case 3:16-cv-02267     Document 40-3      Filed 10/24/16       Page 2 of 4 PageID #: 490                            011
Movant's Purchases and Losses                                                                                                   Corrections Corporation of America

                                              03/31/2014         2     $31.32      $62.64       02/05/2016      30     $29.27      $878.10
                                              03/31/2014         5     $31.32     $156.60       02/18/2016     500     $29.58    $14,790.00
                                              03/31/2014         5     $31.32     $156.60       02/23/2016     100     $28.70     $2,870.00
                                              04/30/2014         1     $32.80      $32.80       02/24/2016    2,500    $28.75    $71,875.00
                                              04/30/2014         3     $32.80      $98.40       03/15/2016     800     $31.00    $24,800.00
                                              05/23/2014        800    $32.38    $25,904.00     04/21/2016     400     $30.45    $12,180.00
                                              06/27/2014         10    $33.67     $336.70       05/02/2016B   1,300    $31.01    $40,313.00
                                              06/27/2014        645    $33.67    $21,717.15     06/24/2016      11     $34.39      $378.29
                                              07/11/2014        133    $33.38    $4,439.54      06/28/2016     500     $34.85    $17,425.00
                                              08/25/2014       1,500   $35.79    $53,685.00     08/23/2016    1,200    $18.60    $22,323.00
                                              10/21/2014       8,800   $35.09   $308,792.00     09/30/2016    2,900    $16.28    $47,214.90
                                              12/10/2014         75    $36.44    $2,733.00      10/06/2016    1,200    $16.01    $19,207.56
                                              12/12/2014         36    $36.69    $1,320.84         held       71,886   $15.52   $1,115,764.48
                                              12/23/2014        200    $37.89    $7,578.00
                                              01/23/2015        100    $39.37    $3,937.00
                                              02/18/2015         60    $40.85    $2,451.00
                                              03/02/2015        388    $40.54    $15,729.52
                                              03/11/2015        400    $38.82    $15,528.00
                                              03/13/2015         18    $39.23     $706.14
                                              03/20/2015       1,500   $42.10    $63,147.75
                                              04/06/2015        200    $40.77    $8,153.00
                                              04/07/2015        100    $40.54    $4,054.00
                                              06/01/2015        700    $35.52    $24,864.00
                                              06/03/2015        187    $35.19    $6,580.53
                                              06/11/2015        300    $34.28    $10,284.00
                                              06/17/2015        131    $34.42    $4,509.02
                                              06/24/2015        200    $33.53    $6,706.00
                                              06/26/2015         6     $34.00     $204.00
                                              07/09/2015        300    $33.77    $10,130.10
                                              07/28/2015        200    $34.45    $6,890.00
                                              08/17/2015        100    $31.80    $3,180.00
                                              09/01/2015         11    $28.77     $316.47
                                              09/01/2015        100    $28.77    $2,877.00
                                              09/24/2015         25    $30.38     $759.50
                                              10/02/2015        100    $28.95    $2,894.50
                                              10/09/2015        100    $30.35    $3,035.00
                                              11/06/2015         86    $27.83    $2,393.38
                                              12/01/2015        300    $25.77    $7,731.00
                                              12/10/2015        200    $24.78    $4,956.00
                                              12/10/2015       1,800   $24.69    $44,442.00
                                              12/18/2015         2     $26.11      $52.22
                                              12/28/2015        500    $27.26    $13,630.00
                                              01/04/2016        500    $27.17    $13,585.00
                                              01/29/2016         13    $28.82     $374.66
                                              02/01/2016        400    $28.96    $11,584.00
                                              03/04/2016        500    $30.18    $15,090.00
                                              03/09/2016        300    $30.51    $9,152.01
                                              03/29/2016        400    $32.90    $13,160.00
                                              04/01/2016         6     $32.12     $192.72
                                              04/01/2016         6     $32.12     $192.72

                                Case 3:16-cv-02267     Document 40-3   Filed 10/24/16         Page 3 of 4 PageID #: 491                          012
Movant's Purchases and Losses                                                                                                                                Corrections Corporation of America

                                                               04/01/2016                 7,100       $32.03      $227,442.11
                                                               04/12/2016                10,800       $31.66      $341,958.24
                                                               04/15/2016                  300        $31.66       $9,498.00
                                                               04/22/2016                  200        $30.59       $6,118.00
                                                               05/05/2016                  200        $33.27       $6,654.66
                                                               05/12/2016                  200        $33.25       $6,650.00
                                                               05/20/2016                  200        $32.42       $6,484.00
                                                               05/27/2016                  300        $33.66       $10,098.00
                                                               06/13/2016                  233        $34.15       $7,956.95
                                                               06/23/2016                  300        $34.70       $10,410.00
                                                               06/24/2016                   10        $34.39        $343.90
                                                               06/28/2016                  200        $34.85       $6,970.00
                                                               06/30/2016                  300        $35.02       $10,506.00
                                                               07/11/2016                  400        $32.93       $13,173.60
                                                               07/28/2016                  800        $31.64       $25,312.00
                                                               07/29/2016                 1,700       $32.05       $54,485.00

 Movant's Total                                                                          158,981                $5,305,949.82               158,981         $4,087,298.61    ($1,218,651.21)


 *For shares held at the end of the class period, losses are calculated by multiplying the shares held by the average share price
  during the 90 calendar days after the end of the class period. The price used is $15.52 as of October 21, 2016 for common stock.

 **For post-class period sales, either the actual price or the mean price (end of class period to the actual post-class sale price)
  will be used depending on which value is higher.

 A
  Shares that were received in.
 B
  Shares that were delivered out.
 D
   Stock Dividend




                                        Case 3:16-cv-02267                Document 40-3               Filed 10/24/16            Page 4 of 4 PageID #: 492                     013
